                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                           DOCKET NO. 3:08-cr-00233-MOC-DCK

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                 ORDER
                                               )
 MIGUEL LORIA,                                 )
                                               )
                  Defendant.                   )



       THIS MATTER is before the court on the government’s Motion for Dismissal of Writ

of Continuing Garnishment. Having considered the government’s motion and reviewed the

pleadings, the court enters the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that the government’s Motion for Dismissal of Writ

of Continuing Garnishment (#175) is GRANTED, and such Writ (#165) is DISMISSED.




 Signed: June 10, 2015




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